
PER CURIAM.
Finding no abuse of discretion in the trial court’s ruling that enforcement of the contract would be unreasonable and unjust; that the forum designated in the contract was chosen because of the defendants’ overwhelming bargaining power; and that enforcement of the choice of forum clause would contravene the strong public policy of Texas, we affirm the trial court’s Order Denying Re-Stated Motion to Dismiss. Manrique v. Fabbri, 493 So.2d 437 (Fla.1986); Haws &amp; Garrett General Contractors, Inc. v. Panhandle Custom Decorators &amp; Supply, Inc., 500 So.2d 204 (Fla. 1st DCA 1986).
Affirmed.
